Case 1:14-ml-02570-RLY-TAB Document 22382 Filed 07/18/22 Page 1 of 5 PageID #:
                                 132478



                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
_________________________________________

IN RE: COOK MEDICAL, INC. IVC FILTERS
MARKETING, SALES PRACTICES AND            Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION             MDL No. 2570
_________________________________________

This Document Relates Only to the Following Cases:

Foley, Ursula Anna – 1:18-cv-00831
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       DEFENDANTS’ REPLY IN SUPPORT OF MOTION FOR JUDGMENT IN
          PLAINTIFF URSULA FOLEY’ S CASE PURSUANT TO CMO-28
Case 1:14-ml-02570-RLY-TAB Document 22382 Filed 07/18/22 Page 2 of 5 PageID #:
                                 132479



A.      The Six-Year Statute of Repose Bars Plaintiff’s Claim Under Cramer and Amey

        Plaintiff argues that her cause of action “accrued on September 29, 2015, when the

perforation of the filter into surrounding organs was first discovered—and that the 12-year

statute of repose should apply to her claims as a result. See Pl.’s Resp., Dkt. 22292 at 1.1

        This Court has rejected Plaintiff’s argument twice before and should do so again here.

See Dkt. 15084 (Wilson) at 2 (“North Carolina courts have held that the enlargement of the

repose period to 12 years did not have retroactive effect for claims involving products used prior

to that time.”); Dkt. 20384 at 2-4 (Amey) (same). The Seventh Circuit agrees, see Klein v DePuy,

506 F.3d 553, 557 (7th Cir. 2007), as does Cramer and other courts applying North Carolina law.

See Dkt. 22247 at 3 (collecting cases). This is no longer a novel issue under North Carolina law.

        Plaintiff misreads the underlying facts of Robinson v. Bridgestone/Firestone N. Am. Tire,

L.L.C., 703 S.E.2d 883, 885 (N.C. 2011). In Robinson, the court held that the adults “had to

show that the allegedly defective tire was initially purchased within six years of the filing

[date]”—the same holding as Cramer and the Court’s orders in Amey and Wilson. The Robinson

court treated the minor plaintiffs differently and analyzed the date of the accident as the “accrual

date” only because a separate statute, N.C. Gen. Stat. § 1:17(a), ‘“provides for the tolling of most

limitations periods during a person’s minority.’” 703 S.E.3d at 887.




1
  Portions of Plaintiff’s Response refer to a company named “Ethicon” which Cook assumes is a
typographical error intended to refer to Cook. Additionally, Plaintiff argues that her cause of action
relates back to the initial filing of the Collins et. al. matter in Missouri in 2016 and that she had a year to
re-file her case once it was transferred to the MDL. See Dkt. 22292 at 2. Cook generally agrees with
Plaintiff’s discussion of the procedural history, but this does not change the issue before the Court. For
the reasons set forth in the Court’s Amey Order (Dkt. 20384 at 2-4), the statute of repose began to accrue
no later than November 19, 2004 when Plaintiff received her filter and the six-year statute of repose
elapsed in 2010, several years before Plaintiffs filed the multi-plaintiff Complaint in Missouri. Indeed,
Cook’s Motion cites the original filing date and argues that Plaintiff’s case is time-barred based on that
initial filing date. See Dkt. 22247 at 1, ¶ 8. Thus, Cook seeks dismissal of Plaintiff’s case because it was
time-barred at the first instance, not because Plaintiff re-filed it as an individual case.


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Case 1:14-ml-02570-RLY-TAB Document 22382 Filed 07/18/22 Page 3 of 5 PageID #:
                                 132480



       As part of her argument, Plaintiff asks the Court to read Lackey narrowly and to “reassess

the persuasive value of Cramer,” which Plaintiff argues “inappropriately expanded the scope of

North Carolina law in direct opposition to have the 2009 amended statute of repose apply to all

cases that accrued on or after October 1, 2009.” Dkt. 22292 at 3. As explained above, the Court

has resolved this issue on two prior occasions, in accordance with multiple courts applying North

Carolina law, not just Cramer. The holdings of Cramer, Lackey, and Ferro are clear. See

Cramer v. Ethicon, Inc., 2021 WL 243872, at *6 (W.D.N.C. Jan. 25, 2021) (explaining that

“courts applying North Carolina law have consistently applied [the] six-year statute of repose in

cases where the product in question was first purchased or delivered, as here, before October 1,

2009.”); Lackey v. DePuy Orthopedics, 2011 WL 2791264, at *3 (W.D.N.C. July 14, 2011)

(“[T]he North Carolina Supreme Court has explained, statutes of repose are distinguishable from

ordinary statutes of limitation in that they begin to run ‘at time unrelated to the traditional statute

of limitations.”); Ferro v. Vol Vo Penta of the Americas, LLC, 2017 WL 3710071, *2 (E.D.N.C.

Aug. 28, 2017) (holding that “[t]he 2008 and 2009 purchases [of replacement boat parts] each

accrued before October 2009, are subjected to the six-year statute of repose, and are therefore

time-barred.”). The Court therefore should not revisit its order in Amey or deviate from the

holdings of these North Carolina cases.

B.     Plaintiff’s Express Warranty Arguments Fail for Multiple Reasons

       Plaintiff argues that Cook waived its statute of repose defense because it “represented to

the FDA that the Gunther Tulip and Celect IVC filters were intended for permanent implantation

when it sought clearance to market these products.” Dkt. 22026 at 4 (alleging this was an

express warranty and citing Christie v. Hartley Constr., Inc., 766 S.E.2d 283, 287 (N.C. 2014)

for the proposition that a party can waive the statute of repose) (cleaned up).




                                                  2
Case 1:14-ml-02570-RLY-TAB Document 22382 Filed 07/18/22 Page 4 of 5 PageID #:
                                 132481



       This express-warranty argument fails for multiple reasons. First, any such claim is

subsumed into the product-liability claims that are barred by the statute of repose. See Lackey,

2011 WL 2791264, at *2 (holding that “Plaintiff’s claims all stem from the purchase of an

allegedly defective hip” and that “[a]rtful pleading does not allow Plaintiff to transform product

liability claims into claims sounding in negligence and breach of warranty.”). Here, Plaintiff’s

claims are similarly based on injuries from an allegedly defective IVC filter. See, e.g., Master

Compl., Dkt. 213, ¶¶ 96-97 (alleging various design and manufacturing “defects” as part of

pleading the express warranty claim).

       Moreover, the plaintiffs in Christie presented evidence of a detailed, specific 20-year

written warranty. See 766 S.E.2d at 285. In contrast here, Plaintiff’s Response only makes a

general reference to representations by Cook to the FDA and the Celect and Tulip Patient Guide

that Cook provided a warranty that its filters were “safe and effective for an indefinite time

period.” Dkt. 22292 at 3. Plaintiff has not attached this document, identified the specific

language of this representation, or when, where, or by whom it was made, or alleged that she

personally relied on any alleged representation before receiving her filter. The mere fact that the

filter had a possible permanent-use option does not create an express warranty or guarantee that

the filter would last indefinitely or that known complications and adverse effects cannot occur.

       Finally, as the Court noted in applying the Texas statute of repose (Dkt. 4918 at 13-15),

the failure of the Plaintiffs’ Master Complaint to plead an adequate express warranty claim and

Plaintiff’s failure to establish how she received and relied on the alleged express warranty are

fatal to her claim under North Carolina law for similar reasons. See Harbor Pt. Homeowners

Ass’n, Inc. v. DJF Enters., 697 S.E.2d 439, 447 (N.C. Ct. App. 2010) (holding plaintiff must

establish reliance on alleged warranty in purchasing the product).




                                                3
Case 1:14-ml-02570-RLY-TAB Document 22382 Filed 07/18/22 Page 5 of 5 PageID #:
                                 132482



       For the foregoing reasons, the Court should dismiss Plaintiff’s case with prejudice.

                                                Respectfully submitted,

Dated: July 18, 2022                            /s/ Jessica Benson Cox
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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 18, 2022, a copy of the foregoing DEFENDANTS’ REPLY

IN SUPPORT OF MOTION FOR JUDGMENT IN PLAINTIFF URSULA FOLEY’S

CASE PURSUANT TO CMO-28 was filed electronically, and notice of the filing of this

document will be sent to all parties by operation of the Court’s electronic filing system to

CM/ECF participants registered to receive service in this matter. Parties may access this filing

through the Court’s system.



                                                    /s/ Jessica Benson Cox




                                                4
